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Fillll'n_t` _'_ ipfqrmat:lon to lde_r_\_t_lfy...g_pur case_:

United States Bankruptcy Court for the;

M|DDLE D|STR|CT OF FLORIDA

 

Case number ri.'i<nowni Chapter 11

 

 

l:] Check ifthis an
amended filing

 

Officia| Form 201
Vo|untary Petition for Non-|ndividua|s Filing for Bankruptcy 4/16

 

|f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, lnstructions for Bankruptcy Forms for Non-lndividuals, is available.

1. Debtor's name Eihab H. Tawfik, M.D., P.A.

 

 

2. A|| other names debtor

“S°di"*h°'a$‘ayears DBA christmedical center

lnC|Ud€ any assumed DBA Town Center Medica| Celebration
names, trade names and

doing business as names

 

3. Debtor's federal
Emp|oyer |dentification 20~3325340
Number (E|N)

 

4. Debtor‘s address Principa| place of business Mai|ing address, if different from principal place of
business

7394 West Gu|f to Lake Highway
Crysta| River, FL 34429

 

 

Number, Street, City, State & Z|P Code P.O. Box, Number, Street, City, State & ZIP Code
Citrus Location of principal assets, if different from principal
County place of business

 

Number, Slreet, City, State & Z|P Code

 

5. Debtor's website (URL)

 

 

6- TyPe °f deb‘°r l Corporauon (including Limiied Liabili:y company (LLC) and Limired Liabimy Parmership (LLP))
l:l Partnership (excluding l_LP)
m Other. Specify:

 

 

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Debtor Eihab H_ Tawfik’ M_D_, P_A_ Case number (ifknown)
Name
7. Describe debtor's business A. Check one:

- l-lea|th Care Business (as defined in 11 U.S.C. § 101(27A))
Singie Asset Rea| Estate (as dehned in 11 U.S.C. § 101(513))
Railroad (as denned in 11 U.S.C. § 101(44))

Stockbroker (as denned in 11 U.S.C. § 101(53A))

Comrnodity Broker (as denned in 11 U.S.C. § 101(6))
C|earing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

Ell:i|]i:|l:|i:l

B. Cl'ieck all that apply

i:l Tax-exempt entity (as described in 26 U.S.C. §501)

i'_'l investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §803-3)
|:l investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NA|CS (North American industry Ciassification System) 4-digit code that best describes debtor.
See http://www_uscouits.qov/four-digit-national-association~naics-codes.

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one.'
|:| Chapter 7
|:l Chapter9

l chapter 11. check e// that app/y.

l:| Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or athliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

l:| The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lf the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement1 and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(13).

El A pian is being filed with this petition

|:| Acceptances of the plan were solicited prepetition from one or more classes of creditors. in
accordance with 11 U.S.C. § 1126(b).

|:l The debtor is required to me periodic reports (for example, 1OK and 1OQ) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to \/o/untary Petiti'ori for Non-/ndivldua/s Filing for Bankruptcy under Chapter 11
(Ott"icia| Form 201A) with this form.

|:| The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ru|e 12b-2.
l:i Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

if more than 2 cases, attach a
separate list.

l No.
i:l Yes.

District When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List ali cases. if more than 1.
attach a separate list

l No
|:i Yes.

Debtor Relationship

 

District V\/ben Case number. if known

 

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Vo|untary Petition for Non-|ndividuais Filing for Bankruptcy page 2

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Case number (ifknown)

 

 

Debl°i Eihab H. Tawfik, M.D., P.A.
Name
11. Why is the case filed in Check ali that app/y.'

this district?

- Debtor has had its domici|e, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district

[l A bankruptcy case concerning debtor's afh|iate, general partner, or paitnership is pending in this district.

 

12. Does the debtor own or - No
have possession of any
real property or personal l:l Yes.

property that needs
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that app/y.)

l:l lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

l:l it needs to be physically secured or protected from the weather.

l:l it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
iivestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

l:l Other

 

Where is the property?

 

Number, Street, City, State & ZlP Code
is the property insured?
l:l No

|:| Yes_ insurance agency

 

Contact name

 

Phone

 

 

_ Statistical and administrative information

 

13. Debtor's estimation of Check one:

available funds

l Funds will be available for distribution to unsecured creditors

l:l After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of - 1_49
creditors m 50_99
iIl 100-199
l:l 200-999

Ei 1,000-5,000
ij 5001-10,000
Ei 10,001-25,000

m 25,001-50,000
l:l 50,001-100,000
l:l More than100,000

 

15. Estimated Assets ij $0 _ $50,000
iii $50,001' - $100,000
iii $100,001 - $500,000

l:l $500,001 - $1 million

iii s1,000,001 - $10 million

l 510,000,001 - $50 million
iii $50,000,001 - $100 million
lIl $100,000,001 - $500 million

iZi $500,000,ooi - $1 billion

l:i $1,000,000,001 - $10 billion
|Ii $10,000,000.001 - $50 billion
[:l More than $50 billion

 

16. Estimated liabilities |:| $O _ 350`000
l:l $50,001 - $100,000
L_.l $100,001 - $500,000

l:l $500,001 - $‘l million

l $1,000,001 - $10 million

ij $10,000,001 - 350 million
El $50,000,001 - $100 million
Ei $100,000,001 - $500 million

l:l $500,000,001 - $1 billion

l:l $1,000,000,001 - $10 billion
l:l $10,000,000,001 - $50 billion
l:l More than $50 billion

 

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Vo|untary Petition for Non-individua|s Filing for Bankruptcy

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Debtor Eihab H_ Tawfjk, M_D_, P_A_ Case number (ifl<nown)

 

 

Name

-. Request for Relief, Dec|aration, and Signatures

 

 

WARN|NG -- Bankruptcy fraud is a serious crime. i\liaking a false statement iri connection With a bankruptcy case carl result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Dec|aration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11l United States Code, specified in this petition.
representative of debtor
i have been authorized to nle this petition on behalf of the debtor.
i have examined the information in this petition and have a reasonable belief that the information is trued and correct.

l declare under penalty of perjury that the foregoing is true and correct

c ,
Executed on pt/ ."/ ,RO(\§’
l\/ll\/l / DD /YYYY

X M Eihab H. Tawfik

 

 

Signature of authorized representative of debtor Printed name

Tit|e Director and President

 

 

//7
13. signature ofattorney X [/V / Dale M/l( /¢Q/jl 8-

Sig:?>f atthtor lviivi / ob /y\lYV '

Ju in M. Luna 0037131

 

Printed name

Latham, Shuker, Eden & Beaudine, LLP

 

Firm name

PO Box 3353
Orlando, FL 32802-3353

 

Number, Street, City, State & ZlP Code

Contact phone (407) 481-5800 Emaii address

 

984469 FL
Bar number and State

 

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